         Case 5:21-cv-00844-XR Document 429 Filed 05/31/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et                  §
al.,                                            §
             Plaintiffs                         §                  SA-21-CV-00844-XR
                                                §
-vs-                                            §
                                                §
GREGORY W. ABBOTT, et al.,                      §
            Defendants                          §

                                            ORDER

       On this date, the Court considered the State Legislators’ unopposed motion to stay the

Court’s discovery order pending appeal (ECF No. 428). After careful consideration, the Court

GRANTS the motion.

       The attorneys representing the State Legislators candidly acknowledged at the hearing on

this matter that they had not reviewed any of the documents claimed to be privileged. It is not

known who conducted the privilege review and whether the attorneys filing the instant motion to

stay have now done so prior to filing the appeal. The vast majority of the documents at issue here

cannot be validly claimed as privileged. Even if certain sections of a page can arguably be

claimed as privileged, the overwhelming number of pages of documents are either public

documents or documents prepared by third parties or shared with third parties. Only because the

motion for stay is unopposed, the Court will grant the motion. However, assuming that the Court

of Appeals finds that the vast majority of documents are in fact not privileged, this Court may

impose sanctions as required by FED. R. CIV. P. 26(g).




                                                1
  Case 5:21-cv-00844-XR Document 429 Filed 05/31/22 Page 2 of 2




It is so ORDERED.

SIGNED this 31st day of May, 2022.




                               _________________________________
                               XAVIER RODRIGUEZ
                               UNITED STATES DISTRICT JUDGE




                                     2
